
657 S.E.2d 355 (2008)
In the Matter of Appeal of IBM CREDIT CORPORATION from the decision of the Durham County Board of County Commissioners concerning the valuation and taxation of personal property for tax year 2001.
No. 520A07.
Supreme Court of North Carolina.
March 7, 2008.
Manning Fulton &amp; Skinner P.A., by Michael T. Medford and Judson A. Welborn, Raleigh, for taxpayer-appellee.
S.C. Kitchen, Durham County Attorney, Durham, for respondent-appellant.
James B. Blackburn, III, General Counsel, North Carolina Association of County Commissioners; and Lucy Chavis, Assistant Wake County Attorney, for North Carolina Association of County Commissioners, amicus curiae.
PER CURIAM.
AFFIRMED.
